             Case 1:11-mj-00771-TRJ Document 1 Filed 09/15/11 Page 1 of 1 PageID# 1

 AO 91 (Rev. 08/09) CriminalComplaint


                                     United States District Cou
                                                                   for the
                                                      Eastern District of Virginia

                  United States of America
                                                                                                             SEP! 5 20U        ,,
                                v.
                                                                                                         ^        |~
                                                                             Case No. 1:11-mj-77(1 CL^^f.<r"ipioZJM
                      AHMED CHARAI
               a/k/a "Moulay Ahmed Charai"
                           Defendants)


                                                       CRIMINAL COMPLAINT


          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                 Septembers, 2011                 in the county of              Loudoun             in the
       Eastern         District of              Virginia          , the defendant(s) violated:

             Code Section                                                       Offense Description

31 U.S.C. § 5324(c)                              Failing to file a report of the transportation of currency of more than $10,000 into
                                                the United States.




          This criminal complaint is based on these facts:


PLEASE SEE ATTACHED AFFIDAVIT OF SPECIAL AGENT JULIE HILARIO.




          Sf Continued on the attached sheet.




                                                                                                 pmplainant 's i
                                                                                          Julie Hilario, Special Agent, HSI
                                                                                                 Printed name and title


 Sworn to before me and signed in my presence.
                                                                                                            /s/
                                                                                 ^\ ^^^Mirroll Buchanan
 Date:             9/15/2011                                                     \Jp—""""            ''' Magistrate Judge
                                                                                                   Judge's signature

 City and state:                        Alexandria, Virginia                    Hon. Theresa C. Buchanan, U.S. Magistrate Judge
                                                                                                 Printed name and title




         Approved by AUSA Ryan Dickey
